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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Cathy Larrimore, et al. JUDGE FALLON

v.

Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES
Only with regard to:

Cathy Larrimore Constantino and
Joe Constantino

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Docket No. 2:05-cv-01986

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,

IT IS ORDERED that the claims of plaintiffs Cathy Larrimore Constantino and Joe
Constantino in the above-captioned case be and they hereby are dismissed with prejudice with
each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
